






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-76,400




EX PARTE TRAMAINE D. YOUNG, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 2007-417868 IN THE 364TH DISTRICT COURT
FROM LUBBOCK COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of burglary of a
habitation and sentenced to fifty-five years’ imprisonment.  The Seventh Court of Appeals affirmed
his conviction. Young v. State, No. 07-08-0309-CR (Tex. App.–Amarillo Sep. 4, 2009, pet. dism’d)
(not designated for publication). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his appellate counsel rendered ineffective assistance because counsel
filed an untimely petition for discretionary review. “If appellate counsel’s action or inaction denies
a defendant his opportunity to prepare and file a petition for discretionary review, the defendant has
been denied his sixth amendment right to effective assistance of counsel.” Ex parte Wilson, 956
S.W.2d 25, 26 (Tex. Crim. App. 1997).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellate counsel filed an affidavit with the trial court.  Based on that affidavit, the trial court
has entered findings of fact and conclusions of law that appellate counsel failed to timely file a
petition for discretionary review.  The trial court recommends that relief be granted.  Ex parte
Wilson, 956 S.W.2d 25, 26 (Tex. Crim. App. 1997).  We find, therefore, that Applicant is entitled
to the opportunity to file an out-of-time petition for discretionary review of the judgment of the
Seventh Court of Appeals in Cause No. 07-08-0309-CR that affirmed his conviction in Case No.
2007-417868 from the 364th Judicial District Court of Lubbock County.  Applicant shall file his
petition for discretionary review with the Seventh Court of Appeals within 30 days of the date on
which this Court’s mandate issues.
&nbsp;
Delivered: August 25, 2010
Do not publish


